AARON J. ROMANO, P.C.
BY: Aaron J. Romano, Esquire
Bar Id.: 20100
55 Woodland Avenue
Bloomfield, CT 06002
Tel: (860) 286-9026
___________________________________
                      UNITED STATES DISTRICT COURT
                     DISTRICT COURT OF CONNECTICUT

UNITED STATES OF AMERICA              :     DOCKET NO.: 3:14cr228(JBA)
                                      :
                                      :
            v.                        :
                                      :
                                      :
JASON CALABRESE                       :     DECEMBER 18, 2015

                  DEFENDANT JASON CALABRESE’S MOTION
                 FOR CONTINUED RELEASE PENDING APPEAL

      Defendant Jason Calabrese, through counsel, respectfully moves pursuant to 18

U.S.C. §3143 (b) for continued release pending appeal. Counsel for the Government

has no objection to this Motion. The grounds for this motion are set forth in the

accompanying memorandum of law.



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                                           Respectfully submitted,

this 18th day of December 2015             JASON CALABRESE
                                           By: /s/ Aaron J. Romano
                                           Aaron J Romano, Esq.
                                           His Attorney, Bar ID #20100
                                           Aaron J. Romano, P.C.
                                           55 Woodland Avenue
                                           Bloomfield, CT 06002
                                           Tel (860) 286-9026/Fax (860) 286-9028
                                           AaronRomano@attorneyaaronromano.com

                                     CERTIFICATION

I hereby certify that, on this 18 th day of December 2015, the Defendant’s Motion for
Release Pending Appeal was filed electronically and sent by first-class mail, postage
prepaid, to anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system, or by mail to
anyone unable to accept electronic filing. Parties may access this filing through the
Court’s system.

                                           By:    /s/ Aaron J. Romano
                                           Aaron J. Romano, Esq. Bar ID # 20100
                                           55 Woodland Avenue
                                           Bloomfield, CT 06002
                                           Tel (860) 286-9026/Fax (860) 286-9028




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                  IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA           :     DOCKET NO. 3:14cr228(JBA)

vs.                                :

JASON CALABRESE                    :



                                  ORDER

      FOR GOOD CAUSE SHOWN, this          day of        , 201 , the Defendant’s

Motion for Release Pending Appeal is hereby GRANTED/DENIED.




                                         J.,
